Case 2:96-cV-02520-.]PI\/| Document 850 Filed 08/09/05 Page 1 0f‘4 Page|D 1654

 

IN THE UNITED sTATES DISTRICT COURT Fll.ED BY »._.... D.U.'
FoR THE wESTERN DISTRICT oF TENNESSEE 1
wESTERN DIvIsIoN 05 AUG ..g pH 2: 5\
DARIUS D. LITTLE, CM’§`SD§W;CYMI
WfD OF T“'§, f=»if]zi§‘*"fii$

Plaintiff,
V. NO. 96-2520 Ml/A
SHELBY COUNTY, TENNESSEE, et al.,

Defendants.

--_/-_¢\-._r-._r\._#\._r'~_./'~../\.zv

 

ORDER DIRECTING CLERK TO DISBURSE FUNDS

 

The Assistant to the Special Master in this case, Curtis J.
Shumpert, has submitted invoices for fees and expenses incurred
in connection with this matter in the amount of $7,255.00 for the

following months in 2004:

October: $1,425.00
November: $ 970.00
December: $1,365.00

and for the following months in 2005:

January: $ 910.00
February: $ 800.00
March: $ 915.00
April: $ 870.00

This document entered on the docket hee in co pliance
with ama 5a and/or rs(a) FRCP on § ' °@`

 

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Accordingly, the Clerk of Court is directed to send the sum
of $7,255.00 to the Assistant Special Master, Curtis J. Shumpert

at, 3277 McCorkle Road, Memphis, Tennessee, 38116.

IT IS SO ORDERED THIS 23 DAY OF August, 2005.

M@m‘&@@

J N P. MCCALLA
ITED STATES DISTRICT JUDGE

   

UNIED sTATESDISTRIC COURT - WESTRE DITRICT 0 TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 850 in
case 2:96-CV-02520 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

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